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                                                                                  United States Courts
                                                                                Southern District of Texas
                            UNITED STATES DISTRICT COURT                                 FILED
                             SOUTHERN DISTRICT OF TEXAS                             October 23, 2020
                                 HOUSTON DIVISION                                            
                                                                             David J. Bradley, Clerk of Court


UNITED STATES OF AMERICA                             '
                                                     '               CR. NO 4:19-363S-01
         vs.                                         '
                                                     '
ALDO RIGOBERTO GUERRA-GUEVARA                        '
         Defendant.                                  '


                                     PLEA AGREEMENT

         The United States of America, by and through Ryan K. Patrick, United States Attorney for

the Southern District of Texas, and Edward F. Gallagher, Assistant United States Attorney, the

Defendant, ALDO RIGOBERTO GUERRA-GUEVARA (“Defendant”), and Defendant’s

counsel, pursuant to Rule 11(c)(1)(C) of the Federal Rules of Criminal Procedure, state that they

have entered into an agreement, the terms and conditions of which are as follows:

                                    Defendant’s Agreement

         1.     Defendant agrees to plead guilty to Counts One and Two of the Superseding

Indictment. Count One charges Defendant with Conspiracy to Possess with Intent to Distribute 5

kilograms or more of a mixture and substance containing a detectable amount of cocaine, a

Schedule II controlled substance, in violation of Title 21, United States Code, Sections 846,

841(a)(1), and 841(b)(1)(A)(ii). Count Two charges Defendant with Conspiracy to Commit Money

Laundering, in violation of Title 18, United States Code, Section 1956(h). Defendant, by entering

this plea, agrees that he is waiving any right to have the facts that the law makes essential to the

punishment either charged in the indictment, or proved to a jury or proven beyond a reasonable

doubt.
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                                        Punishment Range

       2.      The statutory maximum penalty for each violation of Title 21, United States Code,

Sections 846, 841(a)(1), 841(b)(1)(A)(ii) is imprisonment of not less than 10 years or more than

life, and a fine not to exceed more than $10 million. Additionally, Defendant shall serve a term of

supervised release after imprisonment of no less than five (5) years. The maximum penalty for

each violation of Title 18, United States Code, Section 1956(h) is imprisonment of up to 20 years,

and a fine not to exceed $500,000 or twice the value of the property involved. Additionally,

Defendant shall serve a term of supervised release after imprisonment of up to three (3) years.

Defendant acknowledges and understands that if he should violate the conditions of any period of

supervised release which may be imposed as part of his sentence, then Defendant may be

imprisoned for up to five (5) years, without credit for time already served on the term of supervised

release prior to such violation. See Title 18, United Stated Code, Sections 3559(a)(1) and

3583(e)(3).   Defendant understands that he cannot have the imposition or execution of the

sentence suspended, nor is he eligible for parole.

                                 Mandatory Special Assessment

       3.      Pursuant to Title 18, United States Code, § 3013(a)(2)(A), immediately after

sentencing, Defendant will pay to the Clerk of the United States District Court a special assessment

in the amount of one hundred dollars ($100.00) per count of conviction. The payment will be by

cashier’s check or money order, payable to the Clerk of the United States District Court, c/o

District Clerk’s Office, P.O. Box 61010, Houston, Texas 77208, Attention: Finance.

                                   Immigration Consequences

       4.      Defendant recognizes that pleading guilty may have consequences with respect to

his/her immigration status. Defendant understands that if he is not a citizen of the United States,

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by pleading guilty he may be removed from the United States, denied citizenship, and denied

admission to the United States in the future. Defendant understands that if he/she is a naturalized

United States citizen, pleading guilty may result in immigration consequences, such as

denaturalization and potential deportation or removal from the United States. Defendant’s attorney

has advised Defendant of the potential immigration consequences resulting from Defendant’s plea

of guilty and the Defendant affirms that he wants to plead guilty regardless of any immigration

consequences that may result from the guilty plea and conviction.

                            Waiver of Appeal and Collateral Review

       5.      Defendant is aware that Title 28, United States Code, Section 1291, and Title 18,

United States Code, Section 3742, afford a defendant the right to appeal the conviction and

sentence imposed. Defendant is also aware that Title 28, United States Code, Section 2255, affords

the right to contest or “collaterally attack” a conviction or sentence after the judgment of conviction

and sentence has become final. Defendant knowingly and voluntarily waives the right to appeal

or “collaterally attack” the conviction and sentence, except that Defendant does not waive the right

to raise a claim of ineffective assistance of counsel on direct appeal, if otherwise permitted, or on

collateral review in a motion under Title 28, United States Code, Section 2255. In the event

Defendant files a notice of appeal following the imposition of the sentence or later collaterally

attacks his conviction or sentence, the United States will assert its rights under this agreement and

seek specific performance of these waivers.

       6.      Defendant understands and agrees that each and all waivers contained in the

Agreement are made in exchange for the concessions made by the United States in this plea

agreement.



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                                 The United States’ Agreements

       7.      The United States agrees to each of the following:

       (a)     If Defendant pleads guilty to Counts One and Two of the Superseding
       Indictment and persists in that plea through sentencing, and if the Court accepts this
       plea agreement, the United States will bring no further charges arising from the
       facts of this investigation and move to dismiss the original indictment the time of
       sentencing; and

       (b)    Pursuant to 11(c)(1)(C) of the Federal Rules of Criminal Procedure, the
       Government and the Defendant agree that a sentence of 180 months is the
       appropriate sentence for the Defendant in this case.

                     Agreement Binding - Southern District of Texas Only

       8.      The United States Attorney’s Office for the Southern District of Texas agrees that

it will not further criminally prosecute Defendant in the Southern District of Texas for offenses

arising from conduct charged in the indictment. This plea agreement binds only the United States

Attorney’s Office for the Southern District of Texas and Defendant. It does not bind any other

United States Attorney’s Office. The United States Attorney’s Office for the Southern District of

Texas will bring this plea agreement and the full extent of Defendant’s cooperation to the attention

of other prosecuting offices, if requested.

                              United States’ Non-Waiver of Appeal

       9.      The United States reserves the right to carry out its responsibilities under guidelines

sentencing. Specifically, the United States reserves the right:

       (a)     to bring its version of the facts of this case, including its evidence file and
       any investigative files, to the attention of the Probation Office in connection with
       that office’s preparation of a presentence report;

       (b)     to set forth or dispute sentencing factors or facts material to sentencing;

       (c)    to seek resolution of such factors or facts in conference with Defendant’s
       counsel and the Probation Office;


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       (d)    to file a pleading relating to these issues, in accordance with § 6A1.2 of the
       United States Sentencing Guidelines and Title 18, United States Code, § 3553(a);
       and

       (e)     to appeal the sentence imposed or the manner in which it was determined.

                                    Sentence Determination

     10.       Because the parties have agreed to specific sentence pursuant to Fed. Rule of Crim.

Proc. 11(c)(1)(C), if the Court rejects the plea agreement the Court must do on the record or in

open court (or, for good cause, in camera): (a) inform the parties that the Court rejects the plea

agreement; (b) advise the Defendant personally that the Court is not required to follow the plea

agreement and give the Defendant an opportunity to withdraw the plea; and (c) advise the

Defendant personally that if the plea is not withdrawn, the Court may dispose of the case less

favorably toward the Defendant than the plea agreement contemplated.

                                         Rights at Trial

       11.     Defendant understands that by entering into this agreement, he surrenders certain

rights as provided in this plea agreement. Defendant understands that the rights of a defendant

include the following:

       (a)     If Defendant persisted in a plea of not guilty to the charges, defendant would
       have the right to a speedy jury trial with the assistance of counsel. The trial may be
       conducted by a judge sitting without a jury if Defendant, the United States, and the
       court all agree.

       (b)     At a trial, the United States would be required to present witnesses and other
       evidence against Defendant. Defendant would have the opportunity to confront
       those witnesses and his attorney would be allowed to cross-examine them. In turn,
       Defendant could, but would not be required to, present witnesses and other
       evidence on his own behalf. If the witnesses for Defendant would not appear
       voluntarily, he could require their attendance through the subpoena power of the
       court; and

       (c)    At a trial, Defendant could rely on a privilege against self-incrimination and
       decline to testify, and no inference of guilt could be drawn from such refusal to

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       testify. However, if Defendant desired to do so, he/she could testify on his own
       behalf.

                                 Factual Basis for Guilty Plea

       12.     Defendant is pleading guilty because he is in fact guilty of the charges contained in

Counts One and Two of the Superseding Indictment. If this case were to proceed to trial, the United

States could prove each element of the offense beyond a reasonable doubt. The following facts,

among others would be offered to establish Defendant’s guilt:

        Between October 2018 and January 2019, Defendant engaged in a conspiracy with others,
including but not limited to, Hermes Tomasichi-Ledezma, Jose Guillermo Ramirez, Aldo
Fernando Soto, Eluid Alejandro Rodriguez Garcia, Alejandro Valenzuela-Razo, and Silvano
Adame Jr., to possess with intent to distribute cocaine and to launder cash proceeds from cocaine
sales. Defendant facilitated the distribution of cocaine and drug proceeds in and around the
Houston area. Defendant knew that the cocaine came from Mexico. The proceeds from the cocaine
sales were transported in hidden compartments or within cargo going back to Mexico.

        Defendant was intercepted in numerous BlackBerry messenger communications with the
source of supply of drugs in Mexico, known as LIC. These communications began in November
2018 and led to a specific seizure of fifty (50) kilograms of cocaine by DEA on January 8, 2019
in Houston. Defendant specifically referenced this narcotics load in conversations with LIC on
January 7, and 8, 2019. Defendant’s cellular telephone was also the subject of a wiretap in Houston
between December 21, 2018, and January 8, 2019, with numerous conversations relating to drug
trafficking. Defendant communicated with Silvano Adame, Jr. by telephone and with LIC by
BlackBerry messenger about the 50 kilograms of cocaine and 56 bundles of cash moving out of
the warehouse.

        As a result of the communications between Defendant, LIC, and Silvano Adame, Jr., DEA
set up surveillance on Adame and followed him to a storage facility in Houston on January 8, 2019.
Agents observed Silvano Adame, Jr. leave the storage facility. Subsequently, Adame was traffic
stopped and agents discovered fifty (50) kilograms of cocaine in a hidden compartment. Adame
and others identified Defendant as the Houston supervisor for the cocaine and cash movements.
Not long after, a tractor-trailer, driven by co-defendant Alejandro Valenzuela-Razo, departed the
same storage facility and was stopped outside of Houston. Agents seized $687,335 in U.S.
currency in 56 bundles marked with the name of co-defendant “TIO,” Jose Guillermo Ramirez.

        A laboratory analysis of the cocaine seized on January 8, 2019 showed the drugs were in
fact five kilograms or more of cocaine, a Schedule II controlled substance.




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                          Restitution, Forfeiture, and Fines – Generally

       13.       This Plea Agreement is being entered into by the United States on the basis of

Defendant’s express representation that he will make a full and complete disclosure of all assets

over which he exercises direct or indirect control, or in which he has any financial interest.

Defendant agrees not to dispose of any assets or take any action that would effect a transfer of

property in which he has an interest, unless Defendant obtains the prior written permission of the

United States.

       14.       Defendant agrees to make complete financial disclosure by truthfully executing a

sworn financial statement (Form OBD-500 or similar form) within 14 days of signing this plea

agreement. Defendant agrees to authorize the release of all financial information requested by the

United States, including, but not limited to, executing authorization forms permitting the United

States to obtain tax information, bank account records, credit histories, and social security

information. Defendant agrees to discuss and answer any questions by the United States relating

to Defendant’s complete financial disclosure.

       15.       Defendant agrees to take all steps necessary to pass clear title to forfeitable assets

to the United States and to assist fully in the collection of restitution and fines, including, but not

limited to, surrendering title, executing a warranty deed, signing a consent decree, stipulating to

facts regarding the transfer of title and the basis for the forfeiture, and signing any other documents

necessary to effectuate such transfer. Defendant also agrees to direct any banks which have custody

of his/her assets to deliver all funds and records of such assets to the United States.

       16.       Defendant understands that forfeiture, restitution, and fines are separate

components of sentencing and are separate obligations.



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                                           Forfeiture

       17.     Defendant stipulates and agrees that the certain property listed in the Superseding

Indictment’s Notice of Forfeiture (and in any supplemental Notices) is subject to forfeiture, and

Defendant agrees to the forfeiture of the following property:

   1) Real Property located in Hempstead, Texas, together with all improvements, buildings,
      structures and appurtenances, described as:

               10.9069 acre tract of land being that certain called 10.915 acre tract of
               land as conveyed to Francis D. Rex and wife, Claudia L. Rex by
               instrument recorded in Volume 347, Page 162 of the of the Official
               Public Records of Waller County, Texas.

   2) Real Property located in Hempstead, Texas, together with all improvements, buildings,
      structures and appurtenances, described as:

               A tract or parcel of land containing 1.01 acres, being out of a certain
               called 10.915 acre tract known as tract as per partition deed recorded in
               volume 314, page 699 of the Waller County Deeds Records.

     3) The following vehicles:

               (a)    2016 Jeep Wrangler VIN 1C4HJWFGXGL170494

               (b)    2017 Ford Raptor VIN 1FTFW1RG1HFA74132

               (c)    2017 Ford F-350 VIN 1FT8W3DT8HED07003

               (d)    2001 Barrett Horse Trailer

               (e)    2018 Chevrolet Suburban VIN 1GNSCJC9JR353712

       The Government and Defendant agree that no other property is subject to forfeiture as to

Defendant except that listed above.

       18.     Defendant stipulates and agrees that Defendant obtained at least an amount equal

to the value of the above listed property from the criminal offenses and that the factual basis for

his guilty plea supports the above property as proceeds of his criminal conduct or property that
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facilitated his criminal conduct. Defendant stipulates and admits that one or more of the conditions

set forth in Title 21, United States Code, section 853(p), exists. Defendant agrees to forfeit the

above property is substitution in satisfaction of a money judgement.

        19.      Defendant agrees to waive any and all interest in any asset which is the subject of

a related administrative or judicial forfeiture proceeding, whether criminal or civil, federal or state.

        20.      Defendant consents to the order of forfeiture becoming final as to Defendant

immediately following this guilty plea, pursuant to Federal Rule of Criminal Procedure

32.2(b)(4)(A).

        21.      Subject to the provisions of paragraph 5 above, Defendant waives the right to

challenge the forfeiture of property in any manner, including by direct appeal or in a collateral

proceeding.

                                                Fines

        22.      Defendant understands that under the Sentencing Guidelines the Court is permitted

to order Defendant to pay a fine that is sufficient to reimburse the government for the costs of any

imprisonment or term of supervised release, if any. Defendant agrees that any fine imposed by the

Court will be due and payable immediately, and Defendant will not attempt to avoid or delay

payment. The Government and Defendant agree that no fine be imposed in this case and that the

agreed forfeiture would otherwise satisfy any fine otherwise imposed.

                                       Complete Agreement

        23.      This written plea agreement, consisting of 11 pages, including the attached

addendum of Defendant and his attorney, constitutes the complete plea agreement between the

United States, Defendant, and Defendant’s counsel. No promises or representations have been

made by the United States except as set forth in writing in this plea agreement. Defendant

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